
Municipal Credit Union, Respondent, 
againstMiriam A. Collymore, Also Known as Miriam Collymore, Appellant.




Miriam A. Collymore, a/k/a Miriam Collymore, appellant pro se.
Stern &amp; Stern, P.C. (Elaine S. Tamsen of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Sally E. Unger, J.), dated October 16, 2015. The order, insofar as appealed from as limited by the notice of appeal, denied defendant's motion to vacate a judgment of that court entered November 14, 2000, after a nonjury trial, awarding plaintiff the principal sum of $3,271.48.




ORDERED that the appeal is dismissed as abandoned.
Plaintiff commenced this action in March 1999 seeking to recover the principal sum of $3,271.48 for breach of a credit card agreement. On May 20, 1999, a default judgment was entered against defendant based upon defendant's failure to appear or answer the complaint. The judgment was subsequently vacated, and a nonjury trial was held on July 20, 2000, which culminated in the entry of a new judgment awarding plaintiff the principal sum of $3,271.48. Approximately 15 years later, defendant moved to vacate the judgment, claiming that she had not been informed that the action was being litigated and that she had only learned of the judgment against her after her bank account had been restrained. Defendant filed a notice of appeal from the portion of an order of the Civil Court entered October 16, 2015 which denied her motion, finding that defendant had actively participated in defending the action and was barred from relitigating the action.
On appeal, defendant raises no issue regarding the portion of the order that denied her motion to vacate the judgment. Consequently, the appeal is deemed abandoned (see e.g. Pizzaro v State of New York, 19 AD3d 891 [2005]).
Accordingly, the appeal is dismissed.
PESCE, P.J., WESTON and SIEGAL, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: June 15, 2018










